       Case Pending MCP No. 6 Document 1 Filed 10/23/23 Page 1 of 3
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 1 of 61



             BEFORE THE UNITED STATES JUDICIAL PANEL
                  ON MULTIDISTRICT LITIGATION


Petitions for Review of Orders of the                      )
Federal Energy Regulatory Commission:                      )     MCP No. 23-6
Improvements to Generator Interconnection                  )
Procedures and Agreements,                                 )
184 FERC ¶ 61,054 (issued July 28, 2023), and              )
184 FERC ¶ 62,163 (issued Sept. 28, 2023)                  )


           NOTICE OF MULTICIRCUIT PETITIONS FOR REVIEW

      Pursuant to 28 U.S.C. § 2112(a)(3) and the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation, the Federal Energy Regulatory Commission

(“FERC” or the “Commission”) notifies the Judicial Panel that it has received

multiple petitions for review—filed in and date-stamped by four different courts of

appeals—of Commission orders issued in Improvements to Generator

Interconnection Procedures and Agreements, FERC Docket No. RM22-14. The

FERC orders at issue are: (1) Order No. 2023—Final Rule, 184 FERC ¶ 61,054

(issued July 28, 2023) (“Order 2023”), and (2) Notice of Denial of Rehearing by

Operation of Law and Providing for Further Consideration, 184 FERC ¶ 62,163

(issued Sept. 28, 2023) (“September 28 Notice”).1




      1 The Notice states that the Commission intends to issue another order on

requests for rehearing of Order 2023: “As provided in 16 U.S.C. § 825l(a),
the requests for rehearing of the above-cited order filed in this proceeding will be
addressed in a future order to be issued consistent with the requirements of such
section.” In light of the still-pending agency proceeding and the possibility of new
petitions for review of that future order, the Commission notes that the parties may
seek to file motions as appropriate with the designated court of appeals after this
Panel makes its random selection under 28 U.S.C. § 2112(a).


                                          1
       Case Pending MCP No. 6 Document 1 Filed 10/23/23 Page 2 of 3
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 2 of 61



      As required by Panel Rule 25.2, the Commission submits with this Notice:

(1) a schedule listing petitions for review filed in the circuit courts of appeals within

ten days after the issuance of the most recent agency order and received by the

Commission within that time period (Attachment A), and (2) copies of each petition

(Attachment B). Pursuant to 28 U.S.C. § 2112(a)(1)–(3) and Panel Rule 25.2(c), this

notice exclusively embraces court-stamped petitions for review filed in the courts of

appeals within the 10-day period following the Commission’s issuance of the

September 28 Notice, and received by the Commission within that period.2 See In

re FERC, 341 F. Supp. 3d 1378, 1379 (J.P.M.L. 2018) (“If the agency receives,

within the ten-day period, two or more date-stamped petitions for review filed in

different courts of appeals, then the Panel ‘shall, by means of random selection,’

designate the court in which the agency shall file the record.”) (citing 28 U.S.C.

§ 2112(a)(1) and (3), quoting § 2112(a)(3)); see also id. at 1380 n.2 (noting that a

court stamp from the court’s electronic filing system satisfies § 2112(a) and need not

be “an ink stamp of a physical document”).

      In accordance with Panel Rule 25.3, as indicated in the attached certificate of

service, the Commission is filing and serving this notice on the clerks of the courts

of appeals where petitions for review have been filed, along with counsel for all

parties in these petitions for review.




      2 Under Federal Rule of Appellate Procedure 26(a)(1), the ten-day period

expired on October 10, 2023, one day after the Columbus Day holiday. See
https://www.opm.gov/policy-data-oversight/pay-leave/federal-holidays/#url=2023.


                                            2
       Case Pending MCP No. 6 Document 1 Filed 10/23/23 Page 3 of 3
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 3 of 61



                                              Respectfully Submitted,

                                              Robert H. Solomon
                                              Solicitor

                                              /s/ Susanna Y. Chu
                                              Susanna Y. Chu
                                              Attorney


Federal Energy Regulatory
   Commission
Washington, DC 20426
Tel.:   202.504.8464
Email: Susanna.Chu@ferc.gov

October 23, 2023




                                    3
      Case Pending MCP No. 6 Document 1-1 Filed 10/23/23 Page 1 of 2
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 4 of 61




                    ATTACHMENT 1
      Case Pending MCP No. 6 Document 1-1 Filed 10/23/23 Page 2 of 2
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 5 of 61



                             Rule 25.2(b)(ii) Schedule

       Issuance Date of FERC Orders: July 28, 2023 and September 28, 2023

 Case Name         Circuit         Docket           Filing Date     Date
                   Court           Number                           Received by
                                                                    FERC
 FirstEnergy       Sixth Circuit   23-3815          Oct. 6, 2023    Oct. 6, 2023
 Service Co. v.
 FERC

 Advanced          D.C. Circuit    23-1282          Oct. 6, 2023    Oct. 10, 2023
 Energy United,
 et al. v. FERC

 PJM              Third Circuit    23-2830          Oct. 6, 2023    Oct. 10, 2023
 Interconnection,
 LLC v. FERC

 Southwest         Eighth Circuit 23-3232           Oct. 6, 2023    Oct. 10, 2023
 Power Pool,
 Inc. v. FERC



         Additional Petitions Filed and Recorded in FERC Docket,
      But Not Received by the Commission Within Ten-Day Timeframe

 Case Name        Circuit          Docket           Filing Date     Date
                  Court            Number                           Received by
                                                                    FERC
 Midcontinent     D.C. Circuit     23-1284          Oct. 10, 2023   Oct. 12, 2023
 Independent                       (consolidated
 System                            with D.C. Cir.
 Operator, Inc.                    No. 23-1282,
 v. FERC                           pursuant to
                                   Clerk’s order
 PacifiCorp v.    D.C. Circuit     23-1289          Oct. 17, 2023   Oct. 17, 2023
 FERC                              (consolidated
                                   with D.C. Cir.
                                   Nos. 23-1282
                                   and 23-1284,
                                   pursuant to
                                   Clerk’s order
      Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 1 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 6 of 61




                    ATTACHMENT 2
      Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 2 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 7 of 61



                          CERTIFICATE OF SERVICE

      In accordance with Rule 25.3 of the Judicial Panel on Multidistrict Litigation

and Federal Rule of Appellate Procedure 25(a), I certify that, on this 23rd day of

October, 2023, a copy of the foregoing was served electronically, in accordance with

the applicable ECF procedures of the following courts:

      Mark J. Langer
      Clerk of the Court
      U.S. Court of Appeals for the D.C. Circuit
      E. Barrett Prettyman U.S. Courthouse
      333 Constitution Ave., NW
      Room 5423
      Washington, DC 20001

      Patricia S. Dodszuweit
      Clerk of the Court
      U.S. Court of Appeals for the Third Circuit
      21400 U.S. Courthouse
      601 Market Street
      Philadelphia, PA. 19106-1790

      Deborah S. Hunt
      Clerk of the Court
      U.S. Court of Appeals for the Sixth Circuit
      540 Potter Stewart U.S. Courthouse
      100 E. Fifth Street
      Cincinnati, Ohio 45202-3988

      Michael E. Gans
      Clerk of the Court
      U.S. Court of Appeals for the Eighth Circuit
      Thomas F. Eagleton Courthouse
      111 South 10th Street
      Room 24.329
      St. Louis, MO 63102
      Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 3 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 8 of 61



      Copies of the foregoing notice were also served on counsel through the ECF

systems of the U.S. Court of Appeals for the District of Columbia Circuit and the

U.S. Courts of Appeals for the Third, Sixth, and Eighth Circuits, or by email.

Service was provided to:

      John Lee Shepherd, Jr.
      Hunton Andrews Kurth
      2200 Pennsylvania Avenue, N.W.
      Suite 930
      Washington, DC 20037
      Tel.: 202-419-2135

      Charles Dixon Wallace, III
      Hunton Andrews Kurth
      951 E. Byrd Street
      Riverfront Plaza, East Tower
      Richmond, VA 23219
      Tel.: 804-344-7955

      Counsel for Petitioner FirstEnergy Service Co. (6th Cir. 23-3815)


      Jeremy McDiarmid
      Advanced Energy United
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      Counsel for Petitioner American Clean Power Association (D.C. Cir. 23-1282)
      Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 4 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 9 of 61



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     Email: collins@wrightlaw.com

     Wendy B. Warren, Esq.
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     Counsel for Petitioner PJM Interconnection LLC (3d Cir. 23-2830)


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     Washington, DC 20005-0000
     Tel.: 202-393-1200

     Elizabeth P. Trinkle
     WRIGHT & TALISMAN
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     1200 G Street, N.W.
     Washington, DC 20005-0000
       Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 5 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023  Page 10 of 61



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      Washington, DC 20005-0000

      Counsel for Petitioner Southwest Power Pool, Inc. (8th Cir. 23-3232)


      Christopher Davies Supino, Attorney
      Midcontinent Independent System Operator, Inc.
      720 City Center Drive
      Carmel, IN 46032
      Tel.: 317-249-5256
      Email: csupino@misoenergy.org

      Ilia Levitine
      Duane Morris LLP
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      Washington, DC 20001
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      Email: ilevitine@duanemorris.com

      Counsel for Petitioner Midcontinent Independent System Operator, Inc. (D.C.
      Cir. 23-1284)


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      Email: Misha.tseytlin@troutman.com

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      Washington, DC 20004
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       Case Pending MCP No. 6 Document 1-2 Filed 10/23/23 Page 6 of 6
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023  Page 11 of 61



      Adrienne Thompson
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      Portland, OR 97204
      Tel.: 503-290-2347
      Email: adrienne.thompson@troutmansanders.com

      Counsel for Petitioner PacifiCorp (D.C. Cir. 23-1289)



                                                    /s/ Susanna Y. Chu
                                                    Susanna Y. Chu
                                                    Attorney


Federal Energy Regulatory
   Commission
Washington, DC 20426
Tel.:   (202) 502-8464
Email: Susanna.Chu@ferc.gov
       Case Pending MCP No. 6 Document 2 Filed 10/23/23 Page 1 of 1
USCA Case #23-1289   Document #2023294      Filed: 10/23/2023  Page 12 of 61




                        Attachment 3
      Case Pending MCP No. 6 Document 2-1 Filed 10/23/23 Page 1 of 10
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 13 of 61




                    6th Circuit 23-3815
                Case
Document Accession #:Pending MCP No. 6
                      20231006-5206           Document  2-1 10/06/2023
                                               Filed Date:    Filed 10/23/23 Page 2 of 10
        USCA Case #23-1289            Document #2023294          Filed: 10/23/2023 Page 14 of 61


                                                                                   HUNTON ANDREWS KURTH LLP
                                                                                   RIVERFRONT PLAZA, EAST TOWER
                                                                                   951 EAST BYRD STREET
                                                                                   RICHMOND, VIRGINIA 23219-4074


                                                                                   TEL 804 • 788 • 8200
                                                                                   FAX 804 • 788 • 8218


                                                                                   C. DIXON WALLACE III
                                                                                   DIRECT DIAL: 804 • 344 • 7955
                                                                                   EMAIL: dwallace@HuntonAK.com

           October 6, 2023


           Kimberly D. Bose, Secretary
           Federal Energy Regulatory Commission
           888 First Street NE
           Washington, DC 20426

           Re:    Petition for Review of Order of the Federal Energy Regulatory Commission in Docket
                  No. RM22-14

           Dear Secretary Bose:

                   Pursuant to Rule 2012 of the Commission’s Rules of Practice and Procedure, 18 C.F.R.
           § 385.2012, please find enclosed a file-stamped copy of FirstEnergy Service Company’s
           Petition for Review of Improvements to Generator Interconnection Procedures and
           Agreements, Order No. 2023, 184 FERC ¶ 61,054 (2023). The Petition was filed today in the
           United States Court of Appeals for the Sixth Circuit and assigned Case No. 23-3815.

                                                                Sincerely,

                                                                /s/ C. Dixon Wallace III
                                                                C. Dixon Wallace III

                                                                Counsel to FirstEnergy Service Company

           Enclosures




                        ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
                   LONDON LOS ANGELES MIAMI NEW YORK RICHMOND SAN FRANCISCO TOKYO TYSONS WASHINGTON, DC
                                                       www.HuntonAK.com
                Case
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                                                                                    Page               (1 of 1492)
        USCA Case #23-1289             Document #2023294              Filed: 10/23/2023     Page 15 of 61



                                     UNITED STATES COURT OF APPEALS
                                          FOR THE SIXTH CIRCUIT
                                          100 EAST FIFTH STREET, ROOM 540
            Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
                Clerk                        CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                           Filed: October 06, 2023




         Mr. John Lee Shepherd Jr.
         Hunton Andrews Kurth
         2200 Pennsylvania Avenue, N.W.
         Suite 930
         Washington, DC 20037

                              Re: Case No. 23-3815, FirstEnergy Service Co v. FERC
                                  Originating Case No. : RM22-14-000

         Dear Counsel,

            This case has been docketed as number 23-3815 with the caption that is enclosed on a
         separate page. Please check the caption for accuracy and notify the Clerk's Office if any
         corrections should be made.

            Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
         Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
         registered with this court as an ECF filer, you should do so immediately.

            The following forms should be downloaded from the web site and filed with the Clerk's office
         by October 20, 2023. If payment did not accompany the petition for review, the $500 filing fee
         should also be paid by this date.

                                          Appearance of Counsel
                              Petitioner: Disclosure of Corporate Affiliations
                                          Application for Admission to 6th Circuit Bar (if applicable)
                              Respondent: Appearance of Counsel

             More specific instructions are printed on each form. These deadlines are important - if the
         initial forms are not timely filed and necessary fees paid, the case will be dismissed for want of
         prosecution. If you have questions after reviewing the forms and the rules, please contact the
         Clerk's office for assistance.
                Case
Document Accession  Case:
                   #:     23-3815
                      Pending MCP No.
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                                          Filed1-1
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                                                Date:       10/06/2023
                                                         Filed 10/23/23
                                                       10/06/2023          Page:4 2of 10
                                                                          Page               (2 of 1492)
        USCA Case #23-1289        Document #2023294         Filed: 10/23/2023     Page 16 of 61



                                                  Sincerely yours,

                                                  s/Roy G. Ford
                                                  Case Manager
                                                  Direct Dial No. 513-564-7016

         cc: Ms. Carol J Banta
             Mr. Robert Harris Solomon

         Enclosure
                Case
Document Accession  Case:
                   #:     23-3815
                      Pending MCP No.
                       20231006-5206 Document:
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                                                Date:       10/06/2023
                                                         Filed 10/23/23
                                                       10/06/2023         Page:5 3of 10
                                                                         Page               (3 of 1492)
        USCA Case #23-1289       Document #2023294         Filed: 10/23/2023     Page 17 of 61



                       OFFICIAL COURT OF APPEALS CAPTION FOR 23-3815




         FIRSTENERGY SERVICE COMPANY

                    Petitioner

         v.

         FEDERAL ENERGY REGULATORY COMMISSION

                    Respondent
                Case
Document Accession  Case:
                   #:     23-3815
                      Pending MCP No.
                       20231006-5206 Document:
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                                                       10/06/2023         Page:6 1of 10
                                                                         Page               (4 of 1492)
        USCA Case #23-1289       Document #2023294         Filed: 10/23/2023     Page 18 of 61



                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT


         ___________________________                 )
         (Name of Petitioner)                        )
                                                     )
                      v.                             )            Petition for Review
                                                     )
         ___________________________                 )      Agency No. _______________
         (Name of Respondent)                        )




         _____________________________________hereby petition the court for review

         of the Order of the ______________________________entered on the ________

         day of ________, 20____.




                                               ____________________________________
             RECEIVED                          Attorney for Petitioner(s)
                10/06/2023
        DEBORAH S. HUNT, Clerk                 Address:     _________________________

                                                            _________________________

                                                            _________________________




         04/12/2016
                Case
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                   #:     23-3815
                      Pending MCP No.
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                                                         Filed 10/23/23
                                                       10/06/2023         Page:7 2of 10
                                                                         Page               (5 of 1492)
        USCA Case #23-1289       Document #2023294         Filed: 10/23/2023     Page 19 of 61



                       IN THE UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

         FirstEnergy Service Company,          )
               Petitioner,                     )
                                               )
                  v.                           )            No. 24-
                                               )
         Federal Energy Regulatory Commission, )
               Respondent.                     )


            PETITION FOR REVIEW OF FIRSTENERGY SERVICE COMPANY
               Pursuant to Section 313(b) of the Federal Power Act (FPA), 16 U.S.C.

         § 825l(b), Federal Rule of Appellate Procedure 15, and Sixth Circuit Rule 15,

         FirstEnergy Service Company (FirstEnergy) hereby petitions this Court for review

         of the following Federal Energy Regulatory Commission (FERC or Commission)

         order: Improvements to Generator Interconnection Procedures and Agreements,

         Order No. 2023, 184 FERC ¶ 61,054 (July 28, 2023). A copy of Order No. 2023 is

         appended as Attachment A.

               The FERC proceeding at issue concerns revisions to FERC’s pro forma Large

         Generator Interconnection Procedures, pro forma Small Generator Interconnection

         Procedures, pro forma Large Generator Interconnection Agreement, and pro forma

         Small Generator Interconnection Agreement. FirstEnergy, on behalf of the Indicated
                Case
Document Accession  Case:
                   #:     23-3815
                      Pending MCP No.
                       20231006-5206 Document:
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                                                Date:       10/06/2023
                                                         Filed 10/23/23
                                                       10/06/2023         Page:8 3of 10
                                                                         Page               (6 of 1492)
        USCA Case #23-1289       Document #2023294         Filed: 10/23/2023     Page 20 of 61



         PJM Transmission Owners,1 timely sought rehearing of Order No. 2023 on August

         28, 2023. On September 28, 2023, FERC issued a Notice of Denial of Rehearing by

         Operation of Law and Providing for Further Consideration noting that all requests

         for rehearing of Order No. 2023 were deemed denied under FPA section 313(a). A

         copy of the Notice is appended as Attachment B.

               This Petition is timely and venue in this Court is proper under FPA section

         313(b) because FirstEnergy is a “public utility to which [Order No. 2023] relates”

         and maintains its principal place of business in Akron, Ohio.           Should the

         Commission subsequently issue an order addressing arguments raised on rehearing,

         FirstEnergy will move the Court for leave to amend this Petition.

                                                  Respectfully submitted,

                                                   /s/ John Lee Shepherd, Jr.
         C. Dixon Wallace III                     John Lee Shepherd, Jr.
         Hunton Andrews Kurth LLP                 Counsel of Record
         951 East Byrd Street                     Hunton Andrews Kurth LLP
         Richmond, VA 23219                       2200 Pennsylvania Avenue, NW
         (804) 344-7955                           Washington, D.C. 20037
         dwallace@huntonak.com                    (202) 419-2135
                                                  jshepherd@huntonak.com

                                      Counsel for FirstEnergy

         Dated: October 6, 2023


               1
                  The Indicated PJM Transmission Owners are a group of transmission-
         owning public utilities that collectively own approximately 98% of the transmission
         assets in the PJM Interconnection, L.L.C., territory.


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                   #:     23-3815
                      Pending MCP No.
                       20231006-5206 Document:
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                                                Date:       10/06/2023
                                                         Filed 10/23/23
                                                       10/06/2023         Page:9 4of 10
                                                                         Page               (7 of 1492)
        USCA Case #23-1289       Document #2023294         Filed: 10/23/2023     Page 21 of 61



                                  CERTIFICATE OF SERVICE

               I certify that on October 6, 2023, I caused the foregoing documents to be

         served on the Federal Energy Regulatory Commission and also on all parties in the

         underlying agency proceeding through the Commission’s electronic filing system.

                                                  /s/ C. Dixon Wallace III
                                                  C. Dixon Wallace III
                                                  Hunton Andrews Kurth LLP
                                                  951 East Byrd Street
                                                  Richmond, VA 23219
                                                  (804) 344-7955
                                                  dwallace@huntonak.com
                                          Case Pending MCP No. 6 Document 2-1 Filed 10/23/23 Page 10 of 10
                   Case Search Calendar
                            USCA          Opinions
                                 Case #23-1289      Orders/Judgments
                                                 Document #2023294   XML
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                                                                             10/23/2023             Page 22 of 61                 Logout Help


                                                                  General Docket
                                                 United States Court of Appeals for the Sixth Circuit

 Court of Appeals Docket #: 23-3815                                                                                       Docketed: 10/06/2023
 FirstEnergy Service Co v. FERC
 Appeal From: Federal Energy Regulatory Commission
 Fee Status: fee paid

 Case Type Information:
   1) Agency
   2) Review
   3) Other Agency

 Originating Court Information:
    District: FERC-1 : RM22-14-000
    Date Filed: 07/28/2023

 Prior Cases:
    None

 Current Cases:
   None



 FIRSTENERGY SERVICE COMPANY                                                 John Lee Shepherd, Jr.
          Petitioner                                                         Direct: 202-419-2135
                                                                             [COR LD NTC Retained]
                                                                             Hunton Andrews Kurth
                                                                             Firm: 202-955-1500
                                                                             2200 Pennsylvania Avenue, N.W.
                                                                             Suite 930
                                                                             Washington, DC 20037

                                                                             Charles Dixon Wallace, III
                                                                             Direct: 804-344-7955
                                                                             [COR NTC Retained]
                                                                             Hunton Andrews Kurth
                                                                             Firm: 804-788-8200
                                                                             951 E. Byrd Street
                                                                             Riverfront Plaza, East Tower
                                                                             Richmond, VA 23219
 v.

 FEDERAL ENERGY REGULATORY COMMISSION                                        Carol J. Banta
          Respondent                                                         Direct: 202-502-6433
                                                                             [NTC Government]
                                                                             Federal Energy Regulatory Commission
                                                                             888 First Street, N.E.
                                                                             Washington, DC 20426


 FIRSTENERGY SERVICE COMPANY

               Petitioner

 v.

 FEDERAL ENERGY REGULATORY COMMISSION

               Respondent


 10/06/2023          1               Agency Case Docketed. Notice filed by Petitioner FirstEnergy Service Company. Petition Received in 6CA:
                 1492 pg, 8.46 MB    10/06/2023. (RGF) [Entered: 10/06/2023 11:48 AM]
 10/06/2023          2               The case manager for this case is: Mr. Roy G. Ford (513) 564-7016 (RGF) [Entered: 10/06/2023 12:09 PM]

 10/12/2023                          LOCKED - COUNSEL KINDLY ADVISED TO REFILE USING OWN PACER
                     3
                 0 pg, 0 KB
                                     ACCTOUNT*******************APPEARANCE filed for Petitioner FirstEnergy Service Company by John Lee
                                     Shepherd, Jr.. Certificate of Service: 10/12/2023. [23-3815] (CDW) [Entered: 10/12/2023 11:58 AM]
 10/12/2023          4               APPEARANCE filed for Petitioner FirstEnergy Service Company by C. Dixon Wallace III. Certificate of
                 1 pg, 251.86 KB     Service: 10/12/2023. [23-3815] (CDW) [Entered: 10/12/2023 11:59 AM]
 10/16/2023          5               DEFICIENCY NOTICE: The appearance form , [3], filed by Mr. John Lee Shepherd, Jr. for FirstEnergy
                 2 pg, 89.85 KB      Service Company is deficient for the reason noted on the attached checklist. Deficiency to be corrected by
                                     10/23/2023. (RGF) [Entered: 10/16/2023 07:50 AM]
 10/16/2023          6               APPEARANCE filed for Petitioner FirstEnergy Service Company by John Lee Shepherd, Jr.. Certificate of
                 1 pg, 269.29 KB     Service: 10/16/2023. [23-3815] (JLS) [Entered: 10/16/2023 10:46 AM]
 10/18/2023          7               CORPORATE DISCLOSURE STATEMENT filed by Attorney Mr. Charles Dixon Wallace, III for Petitioner
                 12 pg, 1.35 MB      FirstEnergy Service Company Certificate of Service: 10/18/2023. [23-3815] (CDW) [Entered: 10/18/2023
                                     10:17 AM]


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      Documents and Docket Summary
      Documents Only

      Include Page Numbers

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                                  PACER Login:         us2794ogc                     Client Code:
                                  Description:         Docket Report (filtered)      Search Criteria:       23-3815
                                  Billable Pages:      1                             Cost:                  0.10

        Court Information            Court Home            PACER Service Center         Change Client       Billing History    Contact Us
       Case Pending MCP No. 6 Document 2-2 Filed 10/23/23 Page 1 of 8
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023  Page 23 of 61




                    D.C. Circuit 23-1282
                Case
Document Accession #: Pending MCP No. 6
                      20231010-5277    Document  2-210/10/2023
                                       Filed Date:    Filed 10/23/23 Page 2 of 8
       USCA
       USCACase
            Case#23-1282
                 #23-1289     Document
                              Document#2021004
                                       #2023294        Filed:
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                                                               10/23/2023 Page
                                                                           Page124
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                       IN THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT


         Advanced Energy United,
         American Clean Power
         Association, Solar Energy
         Industries Association
                                 Petitioners,
                                                        No. 23-1282
                 v.

          FEDERAL ENERGY
          REGULATORY COMMISSION,

                                  Respondent.


                                          PETITION FOR
                                            REVIEW

               Pursuant to section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b),

         and Federal Rule of Appellate Procedure 15(a), and Circuit Rule 15, Advanced

         Energy United (“United”), the American Clean Power Association (“ACP”), and

         the Solar Energy Industries Association (“SEIA”) (collectively “Petitioners”)

         petition this Court for review of two orders issued by the Federal Energy

         Regulatory Commission (“FERC”) in FERC Docket No. RM22-14. FERC issued

         the first order on July 28, 2023. See Improvements to Generator Interconnection

         Procedures and Agreements, Order No. 2023, 184 FERC ¶ 61,054 (2023) (“Order

         No. 2023”) (Attachment A). Petitioners timely sought rehearing of Order No. 2023

         on August 28, 2023. FERC issued the second order on September 28, 2023. See
                Case
Document Accession #: Pending MCP No. 6
                      20231010-5277     Document  2-210/10/2023
                                        Filed Date:    Filed 10/23/23 Page 3 of 8
       USCA
       USCACase
            Case#23-1282
                 #23-1289      Document
                               Document#2021004
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                                                                10/23/2023 Page
                                                                            Page225
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                                                                                    1527
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         Improvements to Generator Interconnection Procedures and Agreements, Notice

         of Denial of Rehearing by Operation of Law and Providing for Further

         Consideration, 184 FERC ¶ 62,163 (2023) (“Rehearing Denial Notice”)

         (Attachment B). In the Rehearing Denial Notice, the Commission stated it would

         address the requests for rehearing of the above-cited order filed in this proceeding

         will be addressed in a future order, consistent with the requirements of 16 U.S.C.

         § 825l(a). However, pursuant to 16 U.S.C. § 825l(a), “[u]nless the Commission

         acts upon the application for rehearing within thirty days after it is filed, such

         application may be deemed to have been denied.” The Commission did not issue

         a substantive order by the thirty-day deadline (September 28, 2023), and therefore

         Petitioners’ request for rehearing is deemed denied and is ripe for review by this

         Court.
                Case
Document Accession #: Pending MCP No. 6
                      20231010-5277    Document  2-210/10/2023
                                       Filed Date:    Filed 10/23/23 Page 4 of 8
       USCA
       USCACase
            Case#23-1282
                 #23-1289     Document
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                                       #2023294        Filed:
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                                                               10/23/2023 Page
                                                                           Page326
                                                                                 ofof
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               Respectfully submitted,

          Gabriel Tabak                          Ben Norris
          Senior Counsel                         Senior Director of Regulatory Affairs
          American Clean Power                   and Counsel
          Association                            Melissa Alfano
          1501 M St. NW, 9th Fl.                 Director of Energy Markets and
          Washington, DC 20005                   Counsel
          (202) 383-2500                         Solar Energy Industries Association
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          Counsel for the American Clean Power   Washington, DC 20005
          Association                            (202) 566-2873
                                                 bnorris@seia.org
                                                 malfano@seia.org
                                                 Counsel for Solar Energy Industries
                                                 Association

          Jeremy McDiarmid
          Managing Director & General Counsel
          Advanced Energy United
          1801 Pennsylvania Avenue, NW
          Washington, D.C. 20006
          617.429.0677
          jmcdiarmid@advancedenergyunited.org
          Counsel for Advanced Energy United




          October 6, 2023
                Case
Document Accession #: Pending MCP No. 6
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                                          Filed Date:    Filed 10/23/23 Page 5 of 8
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            Case#23-1282
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                                                                  10/23/2023 Page
                                                                              Page427
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                                                                                      1527
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                           CORPORATE DISCLOSURE STATEMENTS

              Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Circuit

        Rule 26.1, the Intervenors make the following disclosures:

              The American Clean Power Association (“ACP”) is a non-profit 501(c)(6)

        organization incorporated under the laws of the District of Columbia. ACP is a

        national non-profit trade association representing a range of member companies with a

        common interest in encouraging the deployment and expansion of wind, solar, energy

        storage, and electric transmission in the United States, including project developers,

        project owners and operators, financiers, utilities, marketers and customers. ACP is a

        non-profit corporation and, as such, no entity has any ownership interest in it. ACP

        does not have any outstanding shares or debt securities in the hands of the public nor

        any parent, subsidiary, or affiliates that have issued shares or debt securities to the

        public.

              The Solar Energy Industries Association (“SEIA”) is a tax-exempt trade

        association pursuant to 26 U.S.C. § 501(c)(6) that represents nearly 1,000 member

        companies nationwide. SEIA represents the entire solar industry, including installers,

        project developers, manufacturers, contractors, financiers and non-profits. SEIA’s

        member companies develop, manufacture, finance, and build solar projects both

        domestically and abroad. SEIA has no parent corporation and no publicly held

        company owns 10% or more of its stock.
                Case
Document Accession #: Pending MCP No. 6
                      20231010-5277       Document  2-210/10/2023
                                          Filed Date:    Filed 10/23/23 Page 6 of 8
       USCA
       USCACase
            Case#23-1282
                 #23-1289        Document
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                                                                  10/23/2023 Page
                                                                              Page528
                                                                                    ofof
                                                                                      1527
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              Advanced Energy United, Inc. (“United”) is a non-profit 501(c)(6) organization

        incorporated under the laws of the District of Columbia. United is a national non-profit

        industry association in the United States that represents the full range of advanced

        energy technologies and services, both grid-scale and distributed. United represents

        over 100 member companies and has a mission to achieve 100% clean power and

        transportation electrification across the United States. United is a non-profit

        corporation and, as such, no entity has any ownership interest in it. United does not

        have any outstanding shares or debt securities in the hands of the public nor any parent,

        subsidiary, or affiliates that have issued shares or debt securities to the public.
                Case
Document Accession #: Pending MCP No. 6
                      20231010-5277      Document  2-210/10/2023
                                         Filed Date:    Filed 10/23/23 Page 7 of 8
       USCA
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                                                                 10/23/2023 Page
                                                                             Page629
                                                                                   ofof
                                                                                     1527
                                                                                        61




                                    CERTIFICATE OF SERVICE

        Pursuant to F.R.A.P. 15(c) and 25(d), I hereby certify that I caused the foregoing
        Petition for Review to be served upon the Secretary of the Federal Energy Regulatory
        Commission and the Office of the Solicitor of the Federal Energy Regulatory
        Commission at the following addresses:

              Ms. Kimberly D. Bose, Secretary
              Federal Energy Regulatory Commission
              888 First St., NE
              Washington, DC 20426

              Robert H. Solomon, Solicitor
              Federal Energy Regulatory Commission
              888 First Street, N.E.
              Washington, D.C. 20426

        Pursuant to 18 C.F.R. § 385.2012 and 28 U.S.C. § 2112(a), I further certify that I will
        mail a date-stamped copy of this petition to the Office of the Secretary, Federal Energy
        Regulatory Commission, 888 First Street, N.E., Washington, DC 20426.

        Pursuant to F.R.A.P. 15(c), I further certify that I caused the foregoing document to be
        served by e-mail on all the parties on the Commission’s service list for Docket No.
        RM22-14, attached hereto.

                                                     Respectfully submitted,
                                                     /s/ Gabriel Tabak
                                                     Gabriel Tabak
                                                      Senior Counsel
                                                     American Clean Power Association
                                                     1501 M St. NW, 9th Fl.
                                                     Washington, DC 20005
                                                     (202) 383-2500
                                                     gtabak@cleanpower.org
          October 6, 2023
                                           Case Pending MCP No. 6 Document 2-2 Filed 10/23/23 Page 8 of 8
                   Case Search Calendar
                            USCA          Opinions
                                 Case #23-1289      Orders/Judgments
                                                 Document #2023294   Briefs   XML TXT Page 30 of 61
                                                                      Filed: 10/23/2023                                          Logout Help


                                                                 General Docket
                                          United States Court of Appeals for District of Columbia Circuit

 Court of Appeals Docket #: 23-1282                                                                                       Docketed: 10/06/2023
 Advanced Energy United, et al v. FERC
 Appeal From: Federal Energy Regulatory Commission
 Fee Status: Fee Paid

 Case Type Information:
   1) Petition for Review
   2) Review
   3)

 Originating Court Information:
    District: FERC-1 : FERC-RM22-14-000

    District: FERC-1 : FERC-RM22-14-001

 Prior Cases:
    None

 Current Cases:
                         Lead                    Member             Start                   End
    Consolidation
                         23-1282                 23-1284            10/12/2023
                         23-1282                 23-1289            10/18/2023

 Panel Assignment:            Not available



 Advanced Energy United                                                       Jeremy McDiarmid
                                  Petitioner                                  Direct: 617-429-0677
                                                                              Email: jmcdiarmid@advancedenergyunited.org
                                                                              [COR LD NTC Retained]
                                                                              Advanced Energy United
                                                                              1801 Pennsylvania Avenue, NW
                                                                              Washington, DC 20006

 American Clean Power Association                                             Gabriel Loew Tabak
                        Petitioner                                            Email: gtabak@awea.org
                                                                              [COR LD NTC Retained]
                                                                              American Clean Power Association
                                                                              1501 M Street, NW
                                                                              Washington, DC 20005

 Solar Energy Industries Association                                          Benjamin Norris, IV
                           Petitioner                                         Direct: 518-421-3260
                                                                              Email: bnorris@seia.org
                                                                              [COR LD NTC Retained]
                                                                              Solar Energy Industries Association
                                                                              1425 K Street, NW
                                                                              Washington, DC 20005
              v.

 Federal Energy Regulatory Commission
                         Respondent


 Advanced Energy United; American Clean Power Association; Solar Energy Industries Association,

                                  Petitioners

              v.

 Federal Energy Regulatory Commission,

                                  Respondent


 10/06/2023                          PETITION FOR REVIEW CASE docketed. [23-1282] [Entered: 10/10/2023 12:15 PM]

 10/06/2023                          PETITION FOR REVIEW [2021004] of a decision by federal agency filed by Advanced Energy United,
                 1527 pg, 8.84 MB    American Clean Power Association and Solar Energy Industries Association [Service Date: 10/06/2023 ]
                                     Disclosure Statement: Attached. [23-1282] [Entered: 10/10/2023 12:16 PM]
 10/10/2023                          CERTIFIED COPY [2021006] of Petition for Review sent to respondent [2021004-2] [23-1282] [Entered:
                 1 pg, 38.88 KB      10/10/2023 12:19 PM]

 10/10/2023                          CLERK'S ORDER [2021007] filed directing party to file initial submissions: PETITIONER docketing
                 2 pg, 44.38 KB      statement due 11/09/2023. PETITIONER certificate as to parties due 11/09/2023. PETITIONER statement
                                     of issues due 11/09/2023. PETITIONER underlying decision due 11/09/2023. PETITIONER deferred
                                     appendix statement due 11/09/2023. PETITIONER procedural motions due 11/09/2023. PETITIONER
                                     dispositive motions due 11/27/2023; directing party to file initial submissions: RESPONDENT entry of
                                     appearance due 11/09/2023. RESPONDENT procedural motions due 11/09/2023. RESPONDENT certified
                                     index to record due 11/27/2023. RESPONDENT dispositive motions due 11/27/2023 [23-1282] [Entered:
                                     10/10/2023 12:21 PM]
 10/12/2023                          LETTER [2021613] sent regarding attorney membership to Jeremy McDiarmid for Advanced Energy
                 1 pg, 45.61 KB      United. Application for Admission due 11/13/2023. [23-1282] [Entered: 10/12/2023 05:17 PM]

 10/12/2023                          CLERK'S ORDER [2021615] filed consolidating cases 23-1284 (Consolidation started 10/12/2023) with 23-
                 1 pg, 37.52 KB      1282 [23-1282, 23-1284] [Entered: 10/12/2023 05:59 PM]

 10/18/2023                          CLERK'S ORDER [2022318] filed consolidating cases 23-1289 (Consolidation started 10/18/2023) with 23-
                 1 pg, 40.16 KB      1282; directing party to file in 23-1289 initial submissions: PETITIONER docketing statement due
                                     11/17/2023. PETITIONER statement of issues due 11/17/2023 [23-1282, 23-1284, 23-1289] [Entered:
                                     10/18/2023 11:18 AM]
 10/18/2023                          CERTIFIED COPY [2022326] of Petition for Review sent to respondent [2022295-2] [23-1289] [Entered:
                 1 pg, 39.35 KB      10/18/2023 11:34 AM]


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       Case Pending MCP No. 6 Document 2-3 Filed 10/23/23 Page 1 of 4
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023  Page 31 of 61




                     3d Circuit 23-2830
       Case:Pending
       Case  23-2830MCP
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                                                  10/23/23    Page 2 of 4
USCA Case #23-1289   Document #2023294        Filed: 10/23/2023      Page 32 of 61



                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT


PJM Interconnection, L.L.C.,                 )
     Petitioner                              )
                                             )
               v.                            )      No. ________
                                             )
Federal Energy Regulatory Commission,        )
      Respondent                             )

                         PETITION FOR REVIEW OF
                       PJM INTERCONNECTION, L.L.C.

       Pursuant to section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b), Rule

15(a) of the Federal Rules of Appellate Procedures, and Rule 15.1 of the Local

Appellate Rules of this Court, PJM Interconnection, L.L.C. (“PJM”) petitions for

review of the following order and notice, attached hereto, issued by the Federal

Energy Regulatory Commission:

       (1)     Improvements to Generator Interconnection Procedures and
               Agreements, Order No. 2023, 184 FERC ¶ 61,054, Docket No. RM22-
               14-000 (July 28, 2023); and

       (2)     Improvements to Generator Interconnection Procedures and
               Agreements, Notice of Denial of Rehearing by Operation of Law and
               Providing for Further Consideration, 184 FERC ¶ 62,163, Docket
               No. RM22-14-001 (Sept. 28, 2023).

       PJM is a party in the underlying Federal Energy Regulatory Commission

proceedings.




                                                                                        1 of 1509
       Case:Pending
       Case  23-2830MCP
                      Document: 1-1 Page:
                        No. 6 Document 2-3 2FiledDate  Filed: 10/06/2023
                                                  10/23/23    Page 3 of 4
USCA Case #23-1289   Document #2023294        Filed: 10/23/2023      Page 33 of 61



       Wherefore, PJM respectfully requests that the Court review and set aside or

modify the order and notice.

                                              Respectfully submitted,

                                              /s/ Ryan J. Collins
                                             Ryan J. Collins
                                             Wendy B. Warren
                                             David S. Berman
                                             Wright & Talisman, P.C.
                                             1200 G Street, NW, Suite 600
                                             Washington, DC 20005
                                             (202) 393-1200 (phone)
                                             collins@wrightlaw.com
                                             warren@wrightlaw.com
                                             berman@wrightlaw.com

                                             Counsel for
                                             PJM Interconnection, L.L.C.


October 6, 2023




                                        2
                                                                                     2 of 1509
                                          Case Pending MCP No. 6 Document 2-3 Filed 10/23/23 Page 4 of 4
                   Case Search Calendar
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                                 Case #23-1289      Orders/Judgments
                                                 Document #2023294   Briefs   XML TXT Page 34 of 61
                                                                      Filed: 10/23/2023                                               Logout Help


                                                                     General Docket
                                                              Third Circuit Court of Appeals

 Court of Appeals Docket #: 23-2830                                                                                          Docketed: 10/06/2023
 PJM Interconnection LLC v. FERC
 Appeal From: Federal Election Commission
 Fee Status: Paid

 Case Type Information:
   1) agency
   2) petition review
   3) Other agency

 Originating Court Information:
    District: FEC-1 : RM22-14

 Prior Cases:
    None

 Current Cases:
   None



 PJM INTERCONNECTION LLC                                                      Ryan J. Collins, Esq.
           Petitioner                                                         Direct: 202-393-1200
                                                                              Email: collins@wrightlaw.com
                                                                              [NTC Retained]
                                                                              Wright & Talisman
                                                                              1200 G Street NW
                                                                              Suite 600
                                                                              Washington, DC 20005

                                                                              Wendy B. Warren, Esq.
                                                                              Direct: 202-393-1200
                                                                              Email: warren@wrightlaw.com
                                                                              [NTC Retained]
                                                                              Wright & Talisman
                                                                              1200 G Street NW
                                                                              Suite 600
                                                                              Washington, DC 20005
 v.

 FEDERAL ENERGY REGULATORY COMMISSION                                         Jared Fish, Esq.
          Respondent                                                          Direct: 202-502-8101
                                                                              Email: jared.fish@ferc.gov
                                                                              Fax: 202-273-0901
                                                                              [NTC Federal government]
                                                                              Federal Energy Regulatory Commission
                                                                              888 1st Street NE
                                                                              Washington, DC 20426


 PJM INTERCONNECTION, L.L.C.,
                       Petitioner

 v.

 FEDERAL ENERGY REGULATORY COMMISSION


 10/06/2023          1              AGENCY CASE DOCKETED. Petition filed by PJM Interconnection LLC. Certificate of Service dated
                 1513 pg, 8.62 MB   10/06/2023. Service made by ECF. Payment made through pay.gov.. Receipt No. A03-64671-199. (KR)
                                    [Entered: 10/06/2023 02:34 PM]
 10/06/2023          2              ORDER (Clerk) directing the agency to file the record or certified list in lieu of record. ORDER (Clerk)
                 1 pg, 89.5 KB      directing the agency to file the record or certified list in lieu of record. (KR) [Entered: 10/06/2023 03:06 PM]
 10/06/2023          3              ECF FILER: DISCLOSURE STATEMENT on behalf of Petitioner PJM Interconnection LLC. [23-2830]
                 3 pg, 1.35 MB      (RJC) [Entered: 10/06/2023 03:51 PM]


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                                 Description:          Docket Report (filtered)        Search Criteria:        23-2830
                                 Billable Pages:       1                               Cost:                   0.10

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USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 35 of 61




                    8th Circuit 23-3232
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 2 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 36 of 61
                                                                 1200 G Street, N.W., Suite 600
                                                                 Washington, D.C. 20005-3898
                                                                          Phone: 202.393.1200
                                                                             Fax: 202.393.1240
                                                                                 wrightlaw.com




                    (“Commission”)
(“SPP”)

                         reh’g denied


                        , and all parties on the Commission’s service list
                               served today by FedEx First Overnight to the Commission’s
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 3 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 37 of 61
                              United States Court of Appeals
                                    For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                              VOICE (314) 244-2400
 Michael E. Gans
                                                                                FAX (314) 244-2780
  Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                           October 06, 2023


Matthew Joseph Binette
WRIGHT & TALISMAN
Suite 600
1200 G Street, N.W.
Washington, DC 20005-0000

        RE: 23-3232 Southwest Power Pool, Inc. v. FERC

Dear Counsel:

       We have received a petition for review of an order of the Federal Energy Regulatory
Commission in the above case, together with electronic payment in the amount of $500 for the
docket fee.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

       The petition has been filed and docketed. A copy of the petition is hereby served upon the
respondent in accordance with Federal Rule of Appellate Procedure, 15(c).

        Your attention is invited to the briefing schedule pertaining to administrative agency
cases, a copy of which will be sent under separate Notice of Docket Activity. The clerk's office
provides a number of practice aids and materials to assist you in preparing the record and briefs.
You can download the materials from our website, the address of which is shown above. Counsel
for both sides should familiarize themselves with the material and immediately confer regarding
the briefing schedule and contents of the appendix.

                                                           Michael E. Gans
                                                           Clerk of Court
AEV
Enclosure(s)
cc:    Kimberly D. Bose
       Robert Harris Solomon
       Elizabeth P. Trinkle
       Priyanka Vashisht

           District Court/Agency Case Number(s): RM22-14-000
                                                 RM22-14-001
        Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 4 of 11
USCA Case #23-1289      Document #2023294      Filed: 10/23/2023 Page 38 of 61
 Caption For Case Number: 23-3232

Southwest Power Pool, Inc.

            Petitioner

v.

Federal Energy Regulatory Commission

            Respondent
        Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 5 of 11
USCA Case #23-1289        Document #2023294    Filed: 10/23/2023 Page 39 of 61
 Addresses For Case Participants: 23-3232

Matthew Joseph Binette
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Washington, DC 20005-0000
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 6 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 40 of 61




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      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 7 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 41 of 61



transmission lines covering portions of Arkansas, Iowa, Kansas, Louisiana,

Minnesota, Missouri, Montana, Nebraska, New Mexico, North Dakota, Oklahoma,

South Dakota, Texas, and Wyoming. SPP currently has 110 members and serves

almost 19 million people in a 552,000-square-mile region. Its members include 16

investor-owned utilities, 13 municipal systems, 22 generation and transmission

cooperatives, 6 state agencies, 19 independent power producers, 11 power

marketers, 13 independent transmission companies, 1 federal agency, 4 large retail

customers, 2 alternative power entities, and 3 public interest entities.

      As an RTO, SPP is responsible for (among other things) managing the

transmission system that is placed under its functional control, administering day-

ahead and real-time energy, reserves, and congestion rights markets, and managing

transmission planning and the reliable interconnection of new electric generating

resources within its region under procedures set forth in its Open Access

Transmission Tariff.

      Order No. 2023 mandated that SPP and other FERC-jurisdictional

transmission providers adopt numerous changes to the generator interconnection

procedures in their tariffs to comply with FERC’s new requirements, including

(among other mandates), adopting a strict liability penalty regime under which

transmission providers can be penalized for interconnection study delays that are

completely beyond their control, mandating changes to study threshold parameters



                                           2
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 8 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 42 of 61



SPP uses to ensure that its transmission system remains reliable when new

generators interconnect to neighboring transmission systems, and ordering

additional new interconnection study requirements.

      On August 20, 2023, SPP timely sought rehearing and clarification of Order

No. 2023. Limited Request for Rehearing and Clarification of Southwest Power

Pool, Inc., Docket No. RM22-14-001 (Aug. 28, 2023) (“Rehearing Request”).

Under the United States Court of Appeals for the District of Columbia Circuit’s

decision in Allegheny Defense Project v. FERC, 964 F.3d 1 (D.C. Cir. 2020), which

invalidated FERC’s practice of issuing “tolling orders” to delay taking action on

rehearing requests under the Natural Gas Act,1 by operation of section 313(a) of the

FPA, 16 U.S.C. § 825l(a), and by virtue of FERC’s failure to act within the

statutorily prescribed thirty-day period, SPP’s Rehearing Request was deemed

denied on September 28, 2023. See Rehearing Notice.

      SPP is aggrieved by FERC’s actions in Order No. 2023 and the Rehearing

Notice. Order No. 2023 requires SPP to make numerous changes to its generator

interconnection procedures and subjects SPP to penalties for failure to comply with



1
      This decision applies equally to FERC’s orders under the FPA. See NSTAR
      Elec. & Gas Corp. v. FERC, 481 F.3d 794, 800 (D.C. Cir. 2007) (“We follow
      here the familiar practice of applying ‘interchangeably’ judicial
      interpretations of provisions from the Natural Gas Act to their ‘substantially
      identical’ counterparts in the Federal Power Act.” (citing Ark. La. Gas Co. v.
      Hall, 453 U.S. 571, 577 n.7 (1981))).

                                         3
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 9 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 43 of 61



strict study deadlines, even when SPP is not at fault for the delays. Order No. 2023

also threatens the reliability of the SPP Transmission System by requiring SPP to

modify the study parameters it uses to ensure reliability of the SPP transmission

system when a generator seeks interconnection on a neighboring system. SPP was

and remains an active participant in the FERC rulemaking proceeding below,

including submitting rulemaking comments and seeking rehearing and clarification

of Order No. 2023 on the mandates that will harm SPP and its regional stakeholders.

FERC’s failure to act on SPP’s rehearing request resulted in that request being

deemed denied by operation of law. SPP is therefore aggrieved by FERC’s actions

in the above-referenced order and notice, and seeks this Court’s review of FERC’s

actions to remedy that aggrievement.

      This petition is timely filed less than sixty days after the denial of rehearing,

by operation of law, of SPP’s Rehearing Request, in accordance with FPA

section 313(b), 16 U.S.C. § 825l(b). This Court has subject matter jurisdiction and

venue is proper under FPA section 313(b) because SPP, one of the “public utilit[ies]

to which the order relates,” id., is headquartered and has its principal place of

business in Little Rock, Arkansas, within this Circuit.




                                          4
      Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 10 of 11
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023  Page 44 of 61



                                         Respectfully submitted,

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Dated: October 6, 2023




                                     5
                                          Case Pending MCP No. 6 Document 2-4 Filed 10/23/23 Page 11 of 11
                   Case Search Calendar
                            USCA          Opinions
                                 Case #23-1289      Orders/Judgments
                                                 Document #2023294   Briefs   XML TXT Page 45 of 61
                                                                      Filed: 10/23/2023                                          Logout Help


                                                                      General Docket
                                                              Eighth Circuit Court of Appeals

 Court of Appeals Docket #: 23-3232                                                                                      Docketed: 10/06/2023
 Southwest Power Pool, Inc. v. FERC
 Appeal From: Petition for Review of an Order of the Federal Energy Regulatory Commission
 Fee Status: paid - cs

 Case Type Information:
   1) Agency
   2) Review
   3) null

 Originating Court Information:
    District: FERC-1 : RM22-14-000
    Date Decided:                                                          Date Rec'd COA:
    07/28/2023                                                             10/06/2023

      District: FERC-1 : RM22-14-001
      Date Decided:                                                        Date Rec'd COA:
      09/28/2023                                                           10/06/2023

 Prior Cases:
    None

 Current Cases:
   None



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 Southwest Power Pool, Inc.

               Petitioner

 v.

 Federal Energy Regulatory Commission

               Respondent


 10/06/2023                          Agency case docketed [5323916] [23-3232] (AEV) [Entered: 10/06/2023 01:59 PM]

 10/06/2023                          PETITION for Review of an order of the Federal Energy Regulatory Commission (Electronic) filed by
                 1519 pg, 8.07 MB    Petitioner Southwest Power Pool w/service 10/06/2023 [5323928] [23-3232] (AEV) [Entered: 10/06/2023
                                     02:19 PM]
 10/06/2023                          BRIEFING SCHEDULE SET AS FOLLOWS: Administrative Record due 11/15/2023. Appendix due on
                 1 pg, 89.65 KB      11/29/2023. Brief of Southwest Power Pool due on 11/29/2023. Responsive brief is due 30 days from the
                                     date the court issues the Notice of Docket Activity filing the brief.[5323931] [23-3232] (AEV) [Entered:
                                     10/06/2023 02:22 PM]
 10/06/2023                          APPEARANCE filed by Matthew J. Binette for Petitioner Southwest Power Pool w/service 10/06/2023
                 1 pg, 280.04 KB     [5323970] [23-3232] (MJB) [Entered: 10/06/2023 03:33 PM]


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       Case Pending MCP No. 6 Document 3 Filed 10/23/23 Page 1 of 15
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 46 of 61




                        Attachment 4
       Case Pending MCP No. 6 Document 3 Filed 10/23/23 Page 2 of 15
USCA Case #23-1289   Document #2023294       Filed: 10/23/2023 Page 47 of 61




Improvements to Generator Interconnection Procedures and Agreements,
FERC Docket No. RM22-14:

    Notice of Denial of Rehearing by Operation of Law and Providing
     for Further Consideration, 184 FERC ¶ 62,163 (issued Sept. 28,
     2023)

    Order No. 2023—Final Rule, 184 FERC ¶ 61,054 (issued July 28,
     2023) (Introduction)
                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230928-3000     Document  3 09/28/2023
                                              Date:  Filed 10/23/23           Page 3 of 15
        USCA Case #23-1289         Document #2023294             Filed: 10/23/2023   Page 48 of 61



                                      184 FERC ¶ 62,163
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Improvements to Generator Interconnection Procedures         Docket No. RM22-14-001
         and Agreements

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                            (September 28, 2023)

                Rehearing has been timely requested of the Commission’s order issued on
         July 28, 2023, in this proceeding. Improvements to Generator Interconnection
         Procedures and Agreements, Order No. 2023, 184 FERC ¶ 61,054 (2023). In the absence
         of Commission action on a request for rehearing within 30 days from the date it is filed,
         the request for rehearing may be deemed to have been denied. 16 U.S.C. § 825l(a);
         18 C.F.R. § 385.713 (2022); Allegheny Def. Project v. FERC, 964 F.3d 1
         (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the requests for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Kimberly D. Bose,
                                                           Secretary.
                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230928-3000     Document  3 09/28/2023
                                              Date:  Filed 10/23/23
                                                             Page 4 of 15
       USCA Case #23-1289  Document #2023294    Filed: 10/23/2023   Page 49 of 61
   Document Content(s)
   RM22-14-001.docx..........................................................1
                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230728-3060     Document  3 07/28/2023
                                              Date:  Filed 10/23/23           Page 5 of 15
        USCA Case #23-1289         Document #2023294             Filed: 10/23/2023   Page 50 of 61



                                      184 FERC ¶ 61,054
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

                                               18 CFR Part 35

                                [Docket No. RM22-14-000; Order No. 2023]

                 Improvements to Generator Interconnection Procedures and Agreements

                                           (Issued July 28, 2023)

         AGENCY: Federal Energy Regulatory Commission.

         ACTION: Final rule.

         SUMMARY: The Federal Energy Regulatory Commission (Commission or FERC) is

         adopting reforms to its pro forma Large Generator Interconnection Procedures, pro forma

         Small Generator Interconnection Procedures, pro forma Large Generator Interconnection

         Agreement, and pro forma Small Generator Interconnection Agreement to address

         interconnection queue backlogs, improve certainty, and prevent undue discrimination for

         new technologies. The reforms are intended to ensure that the generator interconnection

         process is just, reasonable, and not unduly discriminatory or preferential.

         EFFECTIVE DATE: This final rule will become effective [INSERT DATE 60 DAYS

         AFTER DATE OF PUBLICATION IN THE FEDERAL REGISTER]

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Document Accession #: Pending MCP No. 6 Filed
                      20230728-3060     Document  3 07/28/2023
                                              Date:  Filed 10/23/23   Page 6 of 15
        USCA Case #23-1289       Document #2023294       Filed: 10/23/2023   Page 51 of 61
         Docket No. RM22-14-000                                                      -2-

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                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230728-3060     Document  3 07/28/2023
                                              Date:  Filed 10/23/23                                  Page 7 of 15
        USCA Case #23-1289                    Document #2023294                         Filed: 10/23/2023   Page 52 of 61



                                             184 FERC ¶ 61,054
                                        UNITED STATES OF AMERICA
                                 FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

          Improvements to Generator Interconnection                                            Docket No. RM22-14-000
          Procedures and Agreements

                                                            ORDER NO. 2023

                                                               FINAL RULE

                                                          (Issued July 28, 2023)

                                                       TABLE OF CONTENTS

                                                                                                               Paragraph Numbers
         I. Introduction................................................................................................................. 1.
             A. Historical Framework: Order Nos. 2003, 2006, and 845 ..................................... 11.
             B. Regional Transmission Planning and Cost Allocation and Generator
             Interconnection Advance Notice of Proposed Rulemaking ....................................... 18.
             C. Notice of Proposed Rulemaking........................................................................... 20.
             D. Joint Federal-State Task Force on Electric Transmission ..................................... 25.
         II. Overall Need for Reform.......................................................................................... 27.
             A. NOPR.................................................................................................................. 27.
             B. Comments............................................................................................................ 30.
             C. Commission Determination ................................................................................. 37.
         III. Reforms .................................................................................................................. 61.
            A. Reforms to Implement a First-Ready, First-Served Cluster Study Process ........... 61.
               1. Interconnection Information Access ................................................................. 61.
               2. Cluster Study Process..................................................................................... 165.
               3. Allocation of Cluster Study Costs .................................................................. 405.
               4. Allocation of Cluster Network Upgrade Costs................................................ 422.
               5. Shared Network Upgrades.............................................................................. 468.
               6. Increased Financial Commitments and Readiness Requirements .................... 490.
               7. Transition Process .......................................................................................... 814.
            B. Reforms to Increase the Speed of Interconnection Queue Processing................. 872.
               1. Elimination of the Reasonable Efforts Standard ............................................. 872.
                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230728-3060     Document  3 07/28/2023
                                              Date:  Filed 10/23/23                                   Page 8 of 15
        USCA Case #23-1289                     Document #2023294                         Filed: 10/23/2023   Page 53 of 61
         Docket No. RM22-14-000                                                                                                       -2-

                 2. Affected Systems ..........................................................................................1026.
                 3. Optional Resource Solicitation Study ............................................................1294.
              C. Reforms to Incorporate Technological Advancements into the Interconnection
              Process ..................................................................................................................1324.
                 1. Increasing Flexibility in the Generator Interconnection Process ....................1324.
                 2. Incorporating the Enumerated Alternative Transmission Technologies into the
                 Generator Interconnection Process ....................................................................1534.
                 3. Modeling and Ride-Through Requirements for Non-Synchronous Generating
                 Facilities ...........................................................................................................1621.
              D. Issues Beyond the Scope of this Rulemaking....................................................1736.
                 1. Comments .....................................................................................................1736.
                 2. Commission Determination...........................................................................1743.
         IV. Compliance Procedures .......................................................................................1744.
           A. NOPR Proposal ................................................................................................1744.
           B. Comments.........................................................................................................1747.
              1. Compliance Filing Deadline..........................................................................1747.
              2. Regional Flexibility.......................................................................................1750.
              3. Reciprocity Tariffs ........................................................................................1759.
              4. Effective Date ...............................................................................................1760.
              5. Miscellaneous ...............................................................................................1761.
           C. Commission Determination ..............................................................................1762.
         V. Information Collection Statement .........................................................................1772.
         VI. Environmental Analysis.......................................................................................1779.
         VII. Regulatory Flexibility Act ..................................................................................1780.
         VIII. Document Availability ......................................................................................1783.
         IX. Effective Date and Congressional Notification ....................................................1785.


         I.         Introduction

                    This final rule requires all public utility transmission providers to adopt revised

         pro forma Large Generator Interconnection Procedures (LGIP), pro forma Small

         Generator Interconnection Procedures (SGIP), pro forma Large Generator

         Interconnection Agreements (LGIA), and pro forma Small Generator Interconnection
                 Case
Document Accession #: Pending MCP No. 6 Filed
                      20230728-3060     Document  3 07/28/2023
                                              Date:  Filed 10/23/23            Page 9 of 15
        USCA Case #23-1289          Document #2023294             Filed: 10/23/2023   Page 54 of 61
         Docket No. RM22-14-000                                                                   -3-

         Agreements (SGIA).1 These revisions will ensure that interconnection customers are able

         to interconnect to the transmission system in a reliable, efficient, transparent, and timely

         manner, and will prevent undue discrimination.

                Twenty years ago the Commission issued Order No. 2003, in which the

         Commission required all public utilities that own, control, or operate facilities used for

         transmitting electric energy in interstate commerce to have on file standard procedures

         and a standard agreement for interconnecting generating facilities larger than 20

         megawatts (MW) (called the pro forma LGIP and the pro forma LGIA).2 The

         Commission stated its expectation that the changes would prevent undue discrimination,

         preserve reliability, increase energy supply, and lower wholesale prices for customers by


                1
                  Section 201(e) of the Federal Power Act (FPA) defines “public utility” to mean
         “any person who owns or operates facilities subject to the jurisdiction of the Commission
         under this subchapter.” 16 U.S.C. 824(e). A non-public utility that seeks voluntary
         compliance with the reciprocity condition of a tariff may satisfy that condition by filing a
         tariff, which includes the pro forma LGIP, the pro forma SGIP, the pro forma LGIA, and
         the pro forma SGIA. See Standardization of Generator Interconnection Agreements &
         Procs., Order No. 2003, 68 FR 49846 (Aug. 19, 2003), 104 FERC ¶ 61,103, at PP 1, 616
         (2003), order on reh’g, Order No. 2003-A, 69 FR 15932 (Mar. 5, 2004), 106 FERC ¶
         61,220, order on reh’g, Order No. 2003-B, 70 FR 265 (Jan. 19, 2005), 109 FERC ¶
         61,287 (2004), order on reh’g, Order No. 2003-C, 70 FR 37661 (July 18, 2005), 111
         FERC ¶ 61,401 (2005), aff’d sub nom. Nat’l Ass’n of Regul. Util. Comm’rs v. FERC,
         475 F.3d 1277 (D.C. Cir. 2007) (NARUC v. FERC). As stated in the pro forma LGIP,
         pro forma LGIA, pro forma SGIP, and pro forma SGIA, transmission provider “shall
         mean the public utility (or its designated agent) that owns, controls, or operates
         transmission or distribution facilities used for the transmission of electric energy in
         interstate commerce and provides transmission service under the [Transmission
         Provider’s Tariff]. The term . . . should be read to include the Transmission Owner when
         the Transmission Owner is separate from the Transmission Provider.” Pro forma LGIP
         section 1; pro forma LGIA art. 1; pro forma SGIP attach. 1; pro forma SGIA attach. 1.
                2
                    Order No. 2003, 104 FERC ¶ 61,103 at P 2.
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060       Document  3 07/28/2023
                                           Filed Date: Filed 10/23/23 Page 10 of 15
        USCA Case #23-1289        Document #2023294        Filed: 10/23/2023  Page 55 of 61
        Docket No. RM22-14-000                                                                    -4-

        increasing the amount and variety of new generation that would compete in the wholesale

        electricity market.3 The Commission further stated that the standard procedures would

        facilitate market entry for generation competitors by reducing interconnection costs and

        time.4 In Order No. 2006, the Commission adopted standard procedures and a standard

        agreement for interconnecting generating facilities no larger than 20 MW (called the

        pro forma SGIP and the pro forma SGIA), citing the same purposes outlined in Order

        No. 2003.5

               The electricity sector has transformed significantly since the issuance of Order

        Nos. 2003 and 2006. The growth of new resources seeking to interconnect to the

        transmission system and the differing characteristics of those resources have created new

        challenges for the generator interconnection process. These new challenges are creating

        large interconnection queue backlogs and uncertainty regarding the cost and timing of

        interconnecting to the transmission system, increasing costs for consumers. Backlogs in

        the generator interconnection process, in turn, can create reliability issues as needed new

        generating facilities are unable to come online in an efficient and timely manner. While




               3
                   Id. P 1.
               4
                   Id. P 12.
               5
               Standardization of Small Generator Interconnection Agreements & Procs.,
        Order No. 2006, 111 FERC ¶ 61,220, at PP 15, 35-36, order on reh’g, Order No. 2006-A,
        70 FR 71760 (Dec. 30, 2005), 113 FERC ¶ 61,195 (2005), order granting clarification,
        Order No. 2006-B, 71 FR 42587 (July 27, 2006), 116 FERC ¶ 61,046 (2006).
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060       Document  3 07/28/2023
                                           Filed Date: Filed 10/23/23 Page 11 of 15
        USCA Case #23-1289        Document #2023294        Filed: 10/23/2023  Page 56 of 61
        Docket No. RM22-14-000                                                                   -5-

        the Commission recognized these issues and sought to address them in Order No. 845,6 it

        is clear that further action is needed. Therefore, we believe that it is necessary to reform

        the Commission’s standard interconnection procedures and agreements to ensure that

        interconnection customers are able to interconnect to the transmission system in a

        reliable, efficient, transparent, and timely manner, thereby ensuring that rates, terms, and

        conditions for Commission-jurisdictional services are just, reasonable, and not unduly

        discriminatory or preferential.

               Accordingly, we adopt reforms to the Commission’s pro forma LGIP and pro

        forma LGIA. Specifically, as explained in detail in this final rule, we adopt reforms to:

        (1) implement a first-ready, first-served cluster study process;7 (2) increase the speed of

        interconnection queue processing; and (3) incorporate technological advancements into

        the interconnection process.




               6
                See Reform of Generator Interconnection Procs. & Agreements, Order No. 845,
        83 FR 21342 (May 9, 2018), 163 FERC ¶ 61,043, at P 24 (2018), order on
        reh’g, Order No. 845-A, 84 FR 8156 (Mar. 6, 2019) 166 FERC ¶ 61,137, order on
        reh’g, Order No. 845-B, 168 FERC ¶ 61,092 (2019).
               7
                 A first-ready, first-served cluster study process improves efficiency in the
        interconnection study process by including the following elements: increased access to
        information prior to entering the queue; a mechanism to study interconnection requests in
        groups where all interconnection requests in the group are equally queued and of equal
        study priority; and increased financial commitments and readiness requirements to enter
        and proceed through the queue. In contrast, the existing first-come, first-served serial
        study process in the pro forma LGIA and LGIP provides limited information to
        interconnection customers prior to entering the queue, assigns interconnection requests an
        individual queue position based solely on the date of entry into the queue, and contains
        limited financial and readiness requirements.
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060       Document  3 07/28/2023
                                           Filed Date: Filed 10/23/23 Page 12 of 15
        USCA Case #23-1289        Document #2023294        Filed: 10/23/2023  Page 57 of 61
        Docket No. RM22-14-000                                                                     -6-

               First, in order to implement a first-ready, first-served cluster study process, this

        final rule requires: (1) transmission providers to publicly post available information

        pertaining to generator interconnection; (2) transmission providers to use cluster studies

        as the interconnection study method; (3) transmission providers to allocate cluster study

        costs on a pro rata and per capita basis; (4) transmission providers to allocate network

        upgrade costs based on a proportional impact method; (5) interconnection customers to

        pay study and commercial readiness deposits as part of the cluster study process; (6)

        interconnection customers to demonstrate site control at the time of submission of the

        interconnection request; and (7) transmission providers to impose withdrawal penalties

        on interconnection customers for withdrawing from the interconnection queue, with

        certain exceptions. We also require transmission providers to adopt a transition process

        to move from the existing serial interconnection process to the new cluster study process.

               Second, in order to increase the speed of interconnection queue processing, this

        final rule: (1) eliminates the reasonable efforts standard for conducting interconnection

        studies and imposes a financial penalty on transmission providers that fail to meet

        interconnection study deadlines; and (2) establishes an affected system study process and

        associated pro forma affected system agreements.

               Third, in order to incorporate technological advancements into the interconnection

        process, this final rule requires transmission providers to: (1) allow more than one

        generating facility to co-locate on a shared site behind a single point of interconnection

        and share a single interconnection request; (2) evaluate the proposed addition of a

        generating facility at the same point of interconnection prior to deeming such an addition
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060        Document  3 07/28/2023
                                            Filed Date: Filed 10/23/23 Page 13 of 15
        USCA Case #23-1289         Document #2023294        Filed: 10/23/2023  Page 58 of 61
        Docket No. RM22-14-000                                                                     -7-

        a material modification if the addition does not change the originally requested

        interconnection service level; (3) allow interconnection customers to access the surplus

        interconnection service process once the original interconnection customer has an

        executed LGIA or requests the filing of an unexecuted LGIA; (4) use operating

        assumptions in interconnection studies that reflect the proposed charging behavior of an

        electric storage resource; and (5) evaluate the list of alternative transmission technologies

        enumerated in this final rule during the generator interconnection study process. This

        final rule also requires interconnection customers requesting to interconnect a non-

        synchronous generating facility to: (1) provide the transmission provider with the models

        needed for accurate interconnection studies; and (2) have the ability to maintain power

        production at pre-disturbance levels and provide dynamic reactive power to maintain

        system voltage during transmission system disturbances and within physical limits.

        Finally, this final rule requires that all newly interconnecting large generating facilities

        provide ride through capability consistent with any standards and guidelines that are

        applied to other generating facilities in the balancing authority area on a comparable

        basis.

                 We also adopt reforms to the pro forma SGIP and pro forma SGIA. Specifically,

        as explained in detail in this final rule, for small generating facilities we propose reforms

        to incorporate the enumerated alternative transmission technologies into the

        interconnection process, and to provide modeling and ride through requirements for non-

        synchronous generating facilities.
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060         Document  3 07/28/2023
                                             Filed Date: Filed 10/23/23 Page 14 of 15
        USCA Case #23-1289          Document #2023294        Filed: 10/23/2023  Page 59 of 61
        Docket No. RM22-14-000                                                                      -8-

                  Many of the reforms adopted in this final rule track the Notice of Proposed

        Rulemaking’s8 (NOPR) proposed reforms closely. However, as discussed more fully

        below, we have revised aspects of the reforms pertaining to the cluster study process,

        allocation of cluster study and network upgrade costs, increased financial commitments

        and readiness requirements, financial penalties for delayed interconnection studies, the

        affected system study process, pro forma affected system agreements, the material

        modification process, operating assumptions for interconnection studies, incorporating

        the enumerated alternative transmission technologies, and ride through requirements.

        Additionally, as discussed more fully below, we decline to adopt the NOPR proposals

        pertaining to informational interconnection studies, shared network upgrades, the

        optional resource solicitation study, and the alternative transmission technologies annual

        report.

                  We recognize that transmission providers have undertaken efforts to address

        interconnection queue management issues. This final rule is not intended to divert or

        slow the potential progress represented by those efforts, and we encourage transmission

        providers to continue to innovate to remedy their identified interconnection queue

        management issues. We note that the compliance obligations that result from this final

        rule will be evaluated in light of the independent entity variation standard for regional




                  8
                 Improvements to Generator Interconnection Procs. & Agreements, 87 FR 39934
        (July 5, 2022), 179 FERC ¶ 61,194 (2022) (NOPR).
                Case
Document Accession #: Pending MCP No. 6
                      20230728-3060        Document  3 07/28/2023
                                            Filed Date: Filed 10/23/23 Page 15 of 15
        USCA Case #23-1289         Document #2023294        Filed: 10/23/2023  Page 60 of 61
        Docket No. RM22-14-000                                                                     -9-

        transmission organizations (RTO) and independent system operators (ISO) and the

        consistent with or superior to standard for non-RTO/ISO transmission providers.9

               A.       Historical Framework: Order Nos. 2003, 2006, and 845

               In Order No. 2003, the Commission recognized a need for a standard set of

        interconnection procedures for transmission providers and a single, uniformly applicable

        interconnection agreement for large generating facilities.10 The Commission noted that

        generator interconnection is a “critical component of open access transmission service

        and thus is subject to the requirement that utilities offer comparable service under the

        [pro forma open access transmission tariff (tariff)].”11 The Commission found that it was

        appropriate to establish a standard set of generator interconnection procedures to

        “minimize opportunities for undue discrimination and expedite the development of new

        generation, while protecting reliability and ensuring that rates are just and reasonable.”12

        To this end, the Commission adopted the pro forma LGIP and pro forma LGIA and




               9
                   Order No. 2003, 104 FERC ¶ 61,103 at P 26; see infra Section IV.
               10
                 Order No. 2003, 104 FERC ¶ 61,103 at P 11. Large generating facilities are
        defined to mean “a Generating Facility having a Generating Facility Capacity of more
        than 20 MW.” Pro forma LGIP section 1.
               11
                 Order No. 2003, 104 FERC ¶ 61,103 at P 9 (citing Tenn. Power Co., 90 FERC ¶
        61,238 (2000)).
               12
                    Id. P 11.
USCA Case #23-1289    Document #2023294        Filed: 10/23/2023   Page 61 of 61



                     CERTIFICATE OF SERVICE

      I hereby certify that, on October 23, 2023, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties

via the Court’s electronic filing system.



                                                /s/ Susanna Y. Chu
                                                Susanna Y. Chu
                                                Attorney
